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                           UNITED STATES DISTRICT COURT
                           WESTERN DISTRICT OF LOUISIANA
                                LAFAYETTE DIVISION


NARA UCH                                                    CIVIL ACTION NO:           6:21-cv-3265

VERSUS                                                      JUDGE:

SUNBELT RENTALS, INC.                                       MAG. JUDGE:
and CH STEEL SOLUTIONS, INC.

******************************************************************************
                                 COMPLAINT
******************************************************************************

       Plaintiff, NARA UCH, files this Complaint to request this Honorable Court to award him

all relief to which he is entitled for mental and physical injuries he sustained on January 6, 2021

in an industrial accident in Broussard, Louisiana. In support of his claims, Plaintiff submits the

following allegations, which are based on the best of his knowledge, information, and belief:

I.     Parties

                                                  1.

       Plaintiff, NARA UCH, is an adult male of the full age of majority who is domiciled in the

City of Odessa, Pasco County, State of Florida.

                                                  2.

       Made Defendants herein are:

                 a.   SUNBELT RENTALS, INC. (hereinafter referred to as “SUNBELT”), a

                      North Carolina corporation with its principal business office located in Fort

                      Mills, South Carolina. SUNBELT is licensed to do and doing business in

                      Louisiana and maintains significant contacts within the Western District of

                      Louisiana;

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               b.         CH STEEL SOLUTIONS, INC. (hereinafter referred to as “CH STEEL”),

                          is a Delaware corporation with its principal place of business located at

                          4672 Heather Hills Road, Akron, Ohio 44333.

II.    Background

                                                  3.

       CH STEEL designs, sells, installs and/or oversees the installation of large-scale industrial

racking/shelving to various commercial customers throughout the United States, including within

the State of Louisiana.

                                                  4.

       SUNBELT rents industrial equipment, including industrial forklifts, to various customers

throughout the United States, including within the State of Louisiana.

                                                  5.

       Prior to the incident made basis of this lawsuit, Phoenix Metals purchased a set of large

industrial-size cantilever shelving/racking system from CH STEEL which was to be installed at

Phoenix Metals’ facility in Broussard, Louisiana.

                                                  5.

       CH STEEL engaged the services of Loughrea Associates (hereinafter referred to as

“Loughrea”) to dismantle and remove the old racking system and to install the new racking system.

                                                  6.

       NARA UCH, an employee of Loughrea, was participating in the dismantling and removal

of the previous racking system and to assist in the installation of the new racking system at the

Phoenix Metals facility.




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                                                  7.

           SUNBELT provided a forklift to the Loughrea team in order to do the job.

                                                  8.

           On the morning of January 5, 2021, a bearing broke on the SUNBELT forklift.

                                                  9.

           By January 6, 2021, SUNBELT was unable to fix the broken forklift or provide a similar

size replacement forklift to the Loughrea team, so it delivered a replacement forklift to the job site

which was shorter than the forklift which had broken on the day prior

                                                 10.

           SUNBELT knew a taller forklift was needed to safely do the job but did not provide one

or advise the Loughrea team of the deficiency.

                                                 11.

           CH STEEL and SUNBELT allowed the job to proceed using the smaller forklift despite

knowing that a taller, larger, and/or difference forklift was needed to safely do the job.

                                                 12.

           SUNBELT and CH STEEL knew or should have known that the Loughrea team,

including NARA UCH, did not possess the requisite industrial forklift safety training and/or

qualifications necessary or required to safely operate the SUNBELT forklift provided to complete

the job.

                                                 13.

        During the afternoon of January 6, 2021, NARA UCH was operating the SUNBELT

forklift when the racking system that he and the Loughrea team were attempting to dismantle

collapsed and fell on the forklift he was operating causing serious traumatic injury.

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III.   Claims

                                                   14.

       SUNBELT and CH STEEL owed the following duties to the Loughrea team, including

NARA UCH:

       a.      To provide a forklift that was appropriate and adequate for the safe completion of

               the job for which they knew it was being used;

       b.      To ensure that the forklift was safe and adequate for the job being performed prior

               to allowing/authorizing NARA UCH to use it for the specific purpose;

       c.      To ensure that NARA UCH was properly and/or legally trained for the use of the

               forklift provided;

       d.      To provide a safe place for the performance of the task at hand; and

       e.      Any and all other duties applicable under the law, developed in discovery, and/or

               established at the time of trial.

                                                   15.

       CH STEEL and SUNBELT breached their aforementioned duties to NARA UCH

because of their substandard conduct, fault, negligence, imprudence, and/or fault.

                                                   16.

       CH STEEL and SUNBELT’S breach of owed duties to NARA UCH was the legal

cause of NARA UCH’S damages.

                                                   17.

       The risk of harm to NARA UCH was foreseeable when CH STEEL and SUNBELT’S

breached their aforementioned duties to NARA UCH




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                                                 18.

       CH STEEL and SUNBELT are liable and/or answerable to NARA UCH because their

substandard conduct, fault, negligence, imprudence, and/or other fault caused NARA UCH’S

injuries and damages alleged herein.



IV.    Damages

                                                 19.

       Due to Defendants’ negligence, gross-negligence, recklessness, and/or breach of legal

duties, Plaintiff suffered the following special and general damages:

       a.      Past physical pain and suffering;

       b.      Future physical pain and suffering;

       c.      Past mental anguish and/or emotional distress;

       d.      Future mental anguish and/or emotional distress;

       e.      Past disability and/or impairment;

       f.      Future disability and/or impairment;

       g.      Past loss of enjoyment of life;

       h.      Future loss of enjoyment of life;

       i.      Past medical expenses, pharmacy expenses, and any other expenses arising out of

               medical care resulting from the injuries complained of herein;

       j.      Future medical expenses, pharmacy expenses, and any other expenses arising out

               of medical care resulting from the injuries complained of herein;

       k.      Past loss of earnings and/or loss of earning capacity;

       l.      Future loss of earnings and/or loss of earning capacity;

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       m.      Past loss of household services;

       n.      Future loss of household services:

       o.      Any and all other damages which will be established at the time of trial.



V.     Jurisdiction and Venue

                                                  20.

       This Court has jurisdiction over the subject matter of this action under 28 U.S.C. § 1332.

Complete diversity exists in this matter and the amount in controversy exceeds $75,000.00

exclusive of interest and cost.

                                                  21.

       Venue is proper in this Court pursuant to 28 U.S.C. § 1391.

VI.    Jury Demand

                                                  22.

       Plaintiff demands a trial by jury.

VII.   Prayer for Relief

                                                  23.

       WHEREFORE, Plaintiff, NARA UCH, prays that Defendants, CH STEEL and

SUNBELT, each be served with this Complaint and be cited to answer, and that after due

proceedings are had there be judgment herein in NARA UCH’S favor and against Defendants,

jointly, severally, and in solido, in the full and true sum of an amount of damages, both general

and special, as are reasonable in the premises, plus all awardable legal interest thereon from the

appropriate date until paid, all costs of these proceedings, and all other just and equitable relief to

which he is entitled.

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                                      Respectfully Submitted,

                                      DOMENGEAUX WRIGHT ROY & EDWARDS LLC

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SERVICE INFORMATION:
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C T Corporation System
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Baton Rouge, Louisiana 70816

CH STEEL SOLUTIONS, INC.
Through its registered agent for service:
Kenneth Ertel
4672 Heather Hills Road
Akron, OH 44333




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